         Case 2:13-cr-00039-JAD-VCF          Document 83       Filed 05/21/14     Page 1 of 3



 1   Richard A. Wright, Esq.
     WRIGHT STANISH & WINCKLER
 2
     300 S. Fourth Street, Suite 701
 3   Las Vegas, NV 89101
     Telephone: (702) 382-4004
 4
     Richard B. Herman, Esq.
 5
     Richard B. Herman, P.C.
 6   445 Park Avenue, 9th Floor
     New York, New York 10022
 7   Telephone: (212) 759-6300
 8
     Attorneys for Defendant RAMON DESAGE
 9
10
                                UNITED STATES DISTRICT COURT
11
12                                     DISTRICT OF NEVADA

13
14
     UNITED STATES OF AMERICA,           )
15                                       )              CASE NO.: 2:13-CR-00039-JAD-VCF
           Plaintiff,                    )
16                                       )
17                 vs.                   )
                                         )
18   RAMON DESAGE                        )
                                         )
19         Defendant.                    )
20   ____________________________________)

21
22                      UNOPPOSED MOTION TO TRAVEL AND ORDER
23
            Comes now, Defendant Ramon Desage, by and through his counsel, Richard A. Wright,
24
     Esq. and Richard B. Herman, Esq., and hereby moves this Court for permission to travel from
25
26   Las Vegas, Nevada to Newport Beach, California on May 23, 2014 and returning on May 26,

27   2014. Defendant Ramon Desage’s son Patrick, 12 years old, is coming to Las Vegas on
28
          Case 2:13-cr-00039-JAD-VCF           Document 83       Filed 05/21/14      Page 2 of 3



 1   Thursday, May 22, 2014 from Diamond Ranch Academy, a youth residential treatment center, in
 2
     Hurricane, Utah. Ramon Desage requests travel permission to take Patrick to Newport Beach,
 3
     California on Friday, May 23, 2014 for vacation, returning to Las Vegas on Monday, May 26,
 4
     2014, at which time Patrick will return to Hurricane. They will travel by automobile and provide
 5
 6   an itinerary to Pretrial Services.

 7            On May 19, 2014, Richard A. Wright, Counsel for Mr. Desage, personally discussed this
 8
     request with Pre-Trial Services Officer Ron Pease, who advises he consents to this travel request.
 9
     Mr. Desage will continue with electronic monitoring and will abide by all other bail conditions.
10
     Upon his return to Las Vegas on May 26, 2014, Mr. Desage will give a courtesy call to Officer
11
12   Pease.

13            Counsel for Mr. Desage has discussed this request with Assistant United States Attorney
14
     Gregory Damm, who has no opposition to it.
15
              DATED this 19th day of May 2014.
16
17                                                Respectfully submitted:

18
                                                                 /s/
19                                                RICHARD A. WRIGHT, ESQ.
20                                                300 S. Fourth Street, Suite 701
                                                  Las Vegas, NV 89101
21                                                Telephone: (702) 382-4004
                                                  Attorney for Defendant, Ramon Desage
22
23
                                                                 /s/
24                                                RICHARD B. HERMAN, ESQ.
                                                  New York Bar No. 1898758
25                                                445 Park Avenue, 9th Floor
26                                                New York, New York 10022
                                                  Telephone: (212) 759-6300
27                                                Attorney for Defendant, Ramon Desage
28
         Case 2:13-cr-00039-JAD-VCF         Document 83       Filed 05/21/14    Page 3 of 3



 1                                             ORDER
 2
            This matter having come before the Court on the unopposed motion of Defendant Ramon
 3
     Desage, and good cause appearing, Defendant’s Motion for Permission to Travel to Newport
 4
     Beach, California on May 23, 2014 and returning May 26, 2014 is GRANTED.
 5
 6           Dated: May 21, 2014.
                                               ___________________________________
 7                                             HONORABLE JENNIFER A. DORSEY
 8
 9
     Respectfully submitted by:
10
11   WRIGHT STANISH & WINCKLER

12   BY        /s/
       RICHARD A. WRIGHT
13
14
     RICHARD B. HERMAN, P.C.
15
     BY        /s/
16     RICHARD B. HERMAN
17
18
19
20
21
22
23
24
25
26
27
28
